

Vass v Niagara Frontier Transp. Auth. (2022 NY Slip Op 01689)





Vass v Niagara Frontier Transp. Auth.


2022 NY Slip Op 01689


Decided on March 11, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 11, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, WINSLOW, AND BANNISTER, JJ.


782/21 CA 20-01696

[*1]LATIESHA VASS, PLAINTIFF-RESPONDENT,
vNIAGARA FRONTIER TRANSPORTATION AUTHORITY, NIAGARA FRONTIER TRANSIT METRO SYSTEM, INC., AND NILES B. HARDY, DEFENDANTS-APPELLANTS. (APPEAL NO. 2.) 






DAVID J. STATE, GENERAL COUNSEL, BUFFALO (VICKY-MARIE J. BRUNETTE OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
JOHN J. FROMEN, ATTORNEYS AT LAW, P.C., AMHERST (JOHN J. FROMEN, JR., OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Joseph R. Glownia, J.), entered December 24, 2020. The order granted defendants' motion for leave to renew and, upon renewal, adhered to a prior order granting plaintiff summary judgment on the issues of proximate cause and serious injury. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on January 31, 2022,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 11, 2022
Ann Dillon Flynn
Clerk of the Court








